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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

XAVIER U. RIGSBY,
D.O.C. # E38916,

      Plaintiff,

v.                                           CASE NO.: 4:20cv504-MW/MAF

SERGEANT TEDDER, et al.,

     Defendants.
___________________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 6. Upon consideration, with no objections having

been filed by the parties,

      IT IS ORDERED:

      The Report and Recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “This action is DISMISSED

without prejudice for failure to comply with a court order and failure to prosecute.”

The Clerk shall close the file.

      SO ORDERED on January 11, 2021.
                                       s/Mark E. Walker
                                       Chief United States District Judge
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